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 8
                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
 9

10 NINA S. SIMPSON,                                     fCASE NO.:
11                                                      .
                 Plaintiff,
12                                                      PLAINTIFF’S COMPLAINT
           vs.
13
     HOLLAND AMERICA LINE N.V. LLC,                     (DEMAND FOR JURY TRIAL)
14 HOLLAND AMERICA LINE N.V., HOLLAND

15 AMERICA LINE INC., HOLLAND AMERICA
     LINE – USA INC., d/b/a HOLLAND AMERICA,
16 DOES 1 – 5,

17
                 Defendants.
18

19

20         NINA S. SIMPSON (“Plaintiff”), by and through her attorneys NELSON &
21 FRAENKEL, LLP, files this Complaint against Defendants HOLLAND AMERICA

22 LINE N.V. LLC, HOLLAND AMERICA LINE N.V., HOLLAND AMERICA

23 LINE INC., HOLLAND AMERICA LINE – USA INC., doing business as

24 HOLLAND AMERICA, owners and operators of the vessel M/S OOSTERDAM.

25         Plaintiff respectfully alleges as follows:
26         ///
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 1                                    INTRODUCTION
 2                                      A. The Parties
 3         1.    At all times material, Plaintiff, NINA S. SIMPSON, is and was an adult
 4 and a resident of Rochester, Vermont.

 5         2.    Defendants HOLLAND AMERICA LINE N.V. LLC, HOLLAND
 6 AMERICA        LINE N.V., HOLLAND AMERICA LINE INC., HOLLAND
 7 AMERICA LINE – USA INC., doing business as HOLLAND AMERICA,

 8 (hereinafter collectively “HAL”), were and are for-profit corporations with their

 9 world-wide headquarters, principal address, and principal place of business located in

10 Seattle, Washington. HAL was the owner and operator of the vessel M/S

11 OOSTERDAM.

12         3.    The full extent of the facts linking the fictitiously designated defendants,
13 Does 1-5, with the causes of action alleged herein are unknown to the Plaintiff, and

14 the true names and capacities, whether individual, plural, corporate, partnership,

15 associate, or otherwise of Does 1-5, inclusive, are unknown to Plaintiff. Plaintiff

16 therefore sues said defendants by such fictitious names. The Plaintiff is informed and

17 believes that each of the defendants designated herein as a “Doe” is negligently,

18 wantonly, recklessly, tortuously and unlawfully responsible in some manner for the

19 events and happenings herein referred to, and/or is strictly liable in tort for injuries

20 and damages with respect to Plaintiff as herein alleged. Plaintiff will hereafter ask

21 leave of Court to amend this Complaint to show said defendants’ true names and

22 capacities and to state the manner in which each fictitious defendant is so responsible

23 when the same have been ascertained.

24                                   B. Jurisdiction
25         4.    This Court has diversity jurisdiction over Plaintiff’s claims under 28
26 U.S.C. §1332 because the amount in controversy exceeds seventy-five thousand dollars
27 ($75,000), and Plaintiff is a citizen of a different state than the Defendants.

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 1         5.      In the alternative, this Court has jurisdiction over Plaintiff’s claims under
 2 the maritime and admiralty jurisdiction of the Court, pursuant to Article III, §2 of the

 3 United States Constitution, delegating jurisdiction over admiralty cases to the federal

 4 courts, and 28 U.S.C. §1333.

 5         6.      Federal admiralty jurisdiction extends to all navigable waters, salt or
 6 fresh, with or without tides, natural or artificial, which are in fact navigable. The term

 7 ‘navigable waters’ means a body of water which, in its present configuration,

 8 constitutes a highway of commerce, between the states or with foreign countries. See

 9 Complaint of Paradise Holdings, Inc., 795 F.2d 756 (9th Cir. 1986) (“To invoke

10 federal admiralty jurisdiction in tort cases, the tort must occur on navigable waters

11 and bear a significant relationship to traditional maritime activity.”).

12         7.      At all times material, the Plaintiff’s injuries occurred while she was on
13 board a vessel on navigable waters.

14                                           C. Venue
15         8.      Venue is proper in the Western District of Washington pursuant to 18
16 U.S.C. §1965 and 28 U.S.C. §1391, and because (1) Defendants are found and transact

17 business in this district; (2) Defendants maintain a physical presence and their principal

18 place of business in Seattle within this district; and (3) The passenger-ticket issued to

19 Plaintiff by HAL contains a forum selection clause, that HAL asserts requires all claims

20 to be filed in this United States District Court.

21                                   D. Personal Jurisdiction
22         9.      Defendants, at all times material hereto, personally or through an agent:
23              a. Maintained their principal place of business in this state and county;
24              b. Operated, conducted, engaged in or carried on a business venture in this
25                 state and or county; and/or;
26              c. Were engaged in substantial activity within this state; and/or
27              d. Operated vessels in the waters of this state; and/or
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 1              e. Purposefully availed themselves of the benefits of conducting activities
 2                 in Washington by directing their activities toward this state, thereby
 3                 obtaining the benefits and protections of this state’s laws.
 4        10.      Defendants were engaged in the business of providing to the public, and
 5 Plaintiff in particular, for compensation, vacation cruises aboard its vessels which

 6 travel worldwide.

 7                                   GENERAL ALLEGATIONS
 8        11.      At all times material hereto, Defendants owned, operated, managed,
 9 maintained and/or controlled the vessel, M/S OOSTERDAM.

10        12.      HAL is a common carrier and Plaintiff’s claims of negligence herein fall
11 within the parameters of 46 U.S.C. §30509 prohibitions against disclaimers and/or

12 waivers. The statute’s language is broad and unqualified, and it prohibits common

13 carriers from limiting their liability for “personal injury or death caused by negligence

14 or fault of the owner [of the passenger vessel] or the owner’s employees or agents.”

15 See id. 30509(a)(1)(A).

16        13.      On or about March 2, 2019, Plaintiff was a paying passenger on a HAL
17 cruise ship, M/S OOSTERDAM, on a seven (7) day Western Caribbean cruise.

18        14.      On the above referenced date, while Plaintiff was walking on Deck 9,
19 inside the Lido Market she slipped and fell on a wet, slippery, and/or transitory

20 substance on the floor.

21        15.      As a direct and proximate result of the incident, Plaintiff sustained severe
22 and permanent injuries.

23        16.      Plaintiff was seen at the ship’s medical facility where they could not take
24 X-Rays of her right arm because the X-Ray machine was not working properly.

25 Plaintiff was given Tylenol and Advil to alternate after four hours. Plaintiff was in

26 severe pain and could not move or lift her right arm after leaving the medical facility.
27

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 1        17.    Two days after Plaintiff’s fall, her hip and arm were so swollen that she
 2 sought medical treatment at the ship’s medical clinic again. The medical clinic could

 3 provide no further treatment and the X-Ray machine was still not functional.

 4        18.    Upon returning home, Plaintiff sought treatment and had an MRI
 5 performed of her right shoulder. The MRI revealed a full thickness retracted tear of

 6 the supraspinatus, a full thickness tear of the infraspinatus, and a proximal tear of her

 7 biceps tendon.

 8        19.    On May 14, 2019, she had arthroscopic surgery to repair the right rotator
 9 cuff and bicep tenotomy.

10                                      COUNT ONE
11                                 FOR NEGLIGENCE
12                                (Against All Defendants)
13        20.    Plaintiff hereby incorporates by reference, as though fully set forth
14 herein, paragraphs 1-19, and alleges as follows.

15        21.    At all times material, Defendants owed a duty to their passengers,
16 including Plaintiff, to exercise reasonable care for the health, welfare, and safety of

17 their passengers.

18        22.    At all times material, Defendants, by and through their vessel, crew,
19 agents, servants, officers, staff and/or employees, who were acting in the course and

20 scope of their employment and/or agency, undertook to create a dangerous and

21 hazardous condition.

22        23.    At all times material, Defendants, by and through their vessel, crew,
23 agents, servants, officers, staff and/or employees, who were acting in the course and

24 scope of their employment and/or agency, were negligent, careless and breached their

25 duty of care to Plaintiff, by committing the following acts and/or omissions, including,

26 but not limited to:
27         a. Failing to maintain the area clean and in dry condition; and/or
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 1        b. Allowing water and/or other slippery substance to fall on the floor surface;
 2           and/or

 3        c. Failing to have a non-slip or non-skid surface on the floor area; and/or
 4
          d. Failing to warn Plaintiff of the danger of a wet and slippery floor area;
 5           and/or
 6
          e. Failing to place rubber mats or other non-slip covering in and around the
 7           area; and/or
 8
          f. Failing to provide non-skid floor surfaces in and around the area; and/or
 9

10        g. Leaving a defect on the floor thereby obstructing and rendering hazardous
             a foreseeable path of travel; and/or
11

12        h. Failing to maintain the floor in a reasonably safe condition; and/or

13        i. Failing to adequately warn Plaintiff of the dangerous conditions on the
14           subject area; and/or

15        j. Failing to keep and maintain the subject area in a reasonably safe condition;
16           and/or
17        k. Failing to inspect the subject area; and/or
18
          l. Creating a dangerous condition and/or failing to remedy a dangerous
19           condition which was known by the Defendants and which in the exercise
20           of reasonable care should have been known by the Defendants; and/or
21        m. Failing to adopt and implement proper and adequate policies, protocols and
22           procedures for inspection of passenger transit areas, including the subject
             area; and/or
23

24        n. Failing to take feasible and reasonable steps to eliminate a dangerous
             condition which was known by the Defendants and which in the exercise
25           of reasonable care should have been known by the Defendants; and/or
26
          o. Failing to have proper lighting in the area where the Plaintiff fell; and/or
27

28        p. Failing to provide Plaintiff with prompt, and proper medical care all of
             which aggravated plaintiff’s injuries; and/or
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 1         q. Failing to properly train crewmembers; and/or
 2
           r. Failing to adopt and implement proper and adequate policies, protocols and
 3            procedures to prevent crewmembers from creating hazardous conditions to
 4            passengers; and/or

 5         s. Any and all other acts or omissions constituting a breach of Defendants’
 6            duty to use reasonable care discovered during litigation.

 7        24.    At all material times, HAL had exclusive custody and control of the
 8 above-named vessel.

 9        25.    At all material times, HAL created and/or knew or should have known
10 of the above-described conditions through the exercise of reasonable care.

11        26.    At all material times, HAL negligently failed to determine the hazards
12 on the vessel to Plaintiff, failed to eliminate the hazard, failed to modify the hazard

13 and failed to properly warn Plaintiff of the hazard.

14        27.    The above conditions were neither open nor obvious to Plaintiff, and
15 accordingly, HAL owed Plaintiff, the duty to warn and/or correct them.

16        28.    As a direct and proximate result of HAL’s negligence, Plaintiff was
17 severely and permanently injured on or about March 2, 2019.

18        29.    As a further and direct proximate result of Defendant HAL’s negligence,
19 Plaintiff sustained serious and permanent injuries, pain and suffering, disability,

20 mental anguish, inconvenience, and has incurred medical expenses in the past and

21 will incur medical expenses in the future. All of said damages are permanent and

22 continuing in nature.

23                                   PRAYER FOR RELIEF
24        WHEREFORE, Plaintiff prays for judgment against Defendants, and for each
25 of them, as follows:

26        1.     For general and special damages according to proof;
27        2.     For economic damages;
28        4.     For prejudgment interest as allowed by law;

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 1       5.    For costs of suit incurred herein;
 2       6.    For such other and further relief as the Court may deem proper.
 3

 4                                               NELSON & FRAENKEL, LLP

 5                                               By: s/Carlos F. Llinás Negret
 6                                                   Carlos F. Llinás Negret
                                                     Attorneys for Plaintiff
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 8                                 JURY TRIAL DEMAND
 9       Plaintiff hereby demands a trial by jury.
10       Date: July 2, 2021.
11
                                                 NELSON & FRAENKEL, LLP

12                                               By: s/ Carlos F. Llinás Negret
13
                                                      Carlos F. Llinás Negret
                                                      Attorneys for Plaintiff
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